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                                                 September 22, 2023



To Whom It May Concern,

My name is Thomas Dubicki and I reside in Boca Raton, Florida. I wanted to shed some insight into a
very good friend of mine and brother in Christ Doug Mackey.

I can’t remember the exact date I met Doug, but our paths crossed at a local church here in Florida. I
remember introducing myself because at the time I was wanting to expand my friend group, and I would
introduce myself to a whole lot of people. However, right off the bat I felt an instant connection with
Doug because we both were engaged not only in our faith, but in being of service for our local Knights of
Columbus group. I remember wanting to speak with Doug more because I was always in need of strong
role models in my life. I remember asking to exchange numbers with Doug for this exact reason. I hardly
knew Doug the first 2 to 3 weeks we started spending time together, but as I got to witness his behavior
and interactions with others, I knew he was a genuinely kind and loving person. Soon thereafter, we
started doing almost everything together, not daily, more so on a weekly basis, but it was all a gift from
God. Between the countless hours of basketball, the beach volleyball gatherings, the multiple
carpooling rides to bible study, the dinners shared with our group of friends, and more importantly the
strengthening of one another in our faith is why I consider Doug to be part of my family.

Personally, me being the eldest brother in my own family, I never had an older brother. To me Doug
became exactly that, an older brother who I can trust my life with. I think too our shared interests in
sports and faith is a significant bonding agent for our friendship. One of my fondest memories was being
able to witness the marriage between him and his loving wife. Being able to experience the joy radiating
from that night is something unforgettable. Between the countless hours of dancing and laughter, it is a
moment in our friendship that I cherish deeply.

There have been moments in the past where I have needed advice, consolation, and a helping hand to
get me through life. I can confidently say that Doug is someone I can rely on for any given scenario.
Doug has shown me signs of wisdom and experience when I look back on all we’ve done together as
brothers in Christ. I must admit that having a friend you can be totally vulnerable and honest about any
given situation is crucially important. I am blessed to say I have that type of friendship with Doug.
Having strong friendships that are founded upon truth and sacrifice for others perfectly explains the
sentiment I feel for Doug. I consider Doug as stated above, “to be part of my family”. At any given time
of day, I know I can give Doug a call and he will answer. If there are questions I have regarding any given
topic, I know I can call Doug. If I am looking for a home cooked meal and a night out with good
company, Doug is the man to call. See, after knowing Doug for some time now I see how valuable our
friendship really is.

One of the greatest qualities I try to imitate from Doug’s life is the love he has for his wife. As Doug’s
friend, it is such a treasure to spend time with him and his wife. Watching the way they lift each other
up, and the comradery shared at evening gatherings with friends is something I never want to miss out
on. As I reflect on the countless conversations Doug and I have shared, I feel nothing but peace. I hope
the future will continue to bring forth more opportunities to spend time together, whether that be with
the Knights of Columbus, our local bible study group, future weddings amongst our friends, going out for
dinner, the basketball court, or just a workout session on the beach. All of these things are what makes
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life well worth it, being able to share your joy with others. That is exactly what Doug Mackey has done
for me and continues to do. I pray to know Doug for the rest of my life and pending my own decisions in
this world, to have him attend my wedding! If anyone were to ask me who my role models are in life,
Doug Mackey would be near the top of that list.

One last thing I would like to mention is how engaging and loving Doug’s family is. I was able to meet
them at his wedding and just like Doug, they were kind, open hearted, and lovable people. To conclude
this letter, I just want to express my gratitude and heartfelt respect I have for Doug. He is a friend and
brother in Christ that I am blessed to know. He is a man that I believe everyone should get to know. He
has impacted my life and the lives of many others who were not mentioned in this letter in extremely
positive ways. Doug if you are reading this, I just want to say thank you for always being your authentic
loving self, and I hope to see you soon.

Sincerely,

Thomas J Dubicki
